          Case
12/24/22, 4:12 PM 5:23-cv-11074-JEL-EAS            ECF No.
                                                     Gmail     17-14,regarding
                                                           - Questions PageID.1045           Filed 07/22/23
                                                                               Parliamentary Opinion for LPMI Page 1 of 1
    Respectfully, I don't see any basis in the bylaws that would justify to take the consideration of "The purpose of such a rule
    is not necessarily to provide that no other business shall be conducted at those meetings, but to ensure that those items
    shall be completed at that particular meeting." as one to override the assertion from RONR that " There is a presumption
    that nothing has been placed in the bylaws without some reason for it. There can be no valid reason for authorizing
    certain things to be done that can clearly be done without the authorization of the bylaws, unless the intent is to specify
    the things of the same class that may be done, all others being prohibited. ".

    Since candidate nominations clearly could be done at a regular convention, why would it be then necessary for the
    bylaws to call for a candidate nominating convention if not to exclude other business.

    Can you please comment further on this? My goal to pursue the question beyond the decision in the party is that
    members are using your opinion to state that the decision was incorrect and my concern is for a potential fracture of the
    organization that i hope to avoid.


    Thank you very much, and i greatly appreciate your time,
    Andrew Chadderdon
    [Quoted text hidden]



  Josh Martin <jcmartin7872@gmail.com>                                              Wed, Dec 21, 2022 at 12:41 PM
  To: Andrew Chadderdon <andrew.chadderdon@gmail.com>
  Cc: Angela Thornton Canny <AngelaT0763@gmail.com>, Rlichard Brown <richardbrown02@hotmail.com>

    >>Since candidate nominations clearly could be done at a regular convention, why would it be then necessary for the
    bylaws to call for a candidate nominating convention if not to exclude other business.<<

    Because, as you have yourself indicated, the bylaws (perhaps unwisely) use the phrase "regular state convention" in
    several places to refer to the convention held in odd-numbered years at which officers are elected. So the purpose of
    "candidate nominating convention" may have simply been used to differentiate this convention from the convention at
    which officers are elected. If the organization had instead used "regular state convention" in this sentence, this would
    have the effect of shortening the officer's terms, unless other portions of the bylaws were rewritten.

    As you suggest, it may also have been the intention of the drafters that this is the only business which can be conducted
    at such a convention. I think that is a reasonable interpretation, but I do not personally agree with it.

    >>My goal to pursue the question beyond the decision in the party is that members are using your opinion to state that
    the decision was incorrect and my concern is for a potential fracture of the organization that i hope to avoid.<<

    Well, since apparently my words are of such great import, I would state that RONR is quite clear that "Each society
    decides for itself the meaning of its bylaws. When the meaning is clear, however, the society, even by a unanimous vote,
    cannot change that meaning except by amending its bylaws. An ambiguity must exist before there is any occasion for
    interpretation. If a bylaw is ambiguous, it must be interpreted, if possible, in harmony with the other bylaws. The
    interpretation should be in accordance with the intention of the society at the time the bylaw was adopted, as far as this
    can be determined. Again, intent plays no role unless the meaning is unclear or uncertain, but where an ambiguity exists,
    a majority vote is all that is required to decide the question. The ambiguous or doubtful expression should be amended as
    soon as practicable." RONR (12th ed.) 56:68

    I think there is no doubt, given the extensive discussion on this topic, that the rules in question are ambiguous and
    therefore subject to interpretation. As a parliamentarian, my role is simply to provide advice. The organization is the
    ultimate judge on these matters, and the organization's interpretation on this matter is the last word and is "correct" as a
    parliamentary matter, even although that decision may not agree with my advice. If I were the parliamentarian for this
    organization (or a member), I would respectfully submit to the organization's interpretation (even if I may disagree with it)
    and view it as a more fruitful use of my time to suggest amendments to clarify the meaning of the bylaws, rather than
    continuing to argue over the meaning of ambiguous rules. You are free to pass this advice along, to the extent you think it
    will be of assistance.

    -Josh Martin, PRP
    [Quoted text hidden]



  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                    Wed, Dec 21, 2022 at 1:08 PM
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